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Matthew B. Gilliam

From:                             Matthew B. Gilliam
Sent:                             Friday, November 20, 2020 10:03 AM
To:                               Correll, Michael A.; Morris, Brian K.
Cc:                               Jeff D. Jennings
Subject:                          Follow up discovery questions


Hope you all are well this morning. I know Michael will be busy with the deposition today, but I had some additional
discovery questions to follow up on.

    1) For RFPs 6, 7, and Interrogatory 3, I think that Southwest agreed to produce other flight attendant social media
       discipline involving Ed Schneider. However, I do not recall seeing documents about other flight attendants’
       complaints/discipline involving Ed Schneider (for the relevant timeframe while he was in either Denver or
       Phoenix) under the social media policy, the hazing and bullying policy, and the sexual harassment policy.
            Does Ed Schneider or the other custodians have those documents?
            Also, did Southwest exclude that information when it involved the other assistant base managers,
                supervisors, or coordinators based in Denver?

    2) For RFPs that involve questions about other flight attendants (e.g., RFP 4, 5, 10, 15-16, 18, and 21) did
       Southwest limit what it produced to the custodians’ information about flight attendants based in Denver,
       excluding their information about flight attendants who worked under different base managers?

    3) One question that I think you all were going to check on was did Southwest withhold any documents for RFPs 1,
       3, 11-14, 20, 22-25, and Interrogatories 1 and 2.

    4) Did the custodians search and produce responsive information kept on personal electronic devices (e.g., text
       messages, personal email accounts, etc.)? For instance, the union produced some documents that were sent to
       Sonya Lacore’s personal email address that would have also been responsive to some of our requests to
       Southwest.

    5) Were there any requests that Southwest’s Custodians did not have any responsive information for?

    6) Finally, following the last production, I wanted to check what Southwest is withholding, whether on the basis of
       privilege or some other objection (overbroad, unduly burdensome, etc.). For any privilege objections, will
       Southwest be preparing a privilege log? I believe you had indicated that one would be forthcoming for the
       redaction on what became Ex 10.

Thanks,
Matt

__________________
Matthew B. Gilliam
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September 18, 2020

By Electronic Mail: mbg@nrtw.org

Matthew B. Gilliam
National Right to Work Legal Defense
Foundation, Inc.
8001 Braddock Road, Ste. 600
Springfield, VA 22160

        RE: Carter v. Southwest et al.

Matt:

I write in response to your August 31, 2020 correspondence regarding Southwest’s proposal to address
the parties’ ongoing discovery issues. Candidly, we are disappointed by your letter. It raises issues that
you did not mention during our May 2020 telephone call, and makes regressive proposals that likely will
obstruct the parties’ ability to reach an amicable resolution. We attempt to address the issues you raise
here in the hopes of moving forward and avoiding unnecessary motions.

Background and General Issues

As you know, you propounded the discovery requests that form the basis for our current meet and confer
efforts in April 2019. Anticipating issues given the overbroad nature of the requests, we promptly (before
even responding) suggested that the parties begin meet and confer efforts. In particular, we noted that
your requests purported to require Southwest to search for documents and communications regarding a
vast range of topics from all current and former Southwest employees and other non-employee affiliated
individuals and entities for an 8-year period. You resisted our proposal, insisting that the requests were
simple and straightforward. Now, seventeen months later, it is clear that the requests are not simple and
straightforward.

As we have maintained throughout discovery, we are willing to work with you to identify relevant
custodians and search terms that are proportionate to the needs of the case. Bear in mind, this case—
insofar as it relates to Southwest—consists of two simple employment claims. In this regard, we are
confused by your repeated suggestion that Southwest never explained the burdens and disproportionality
of complying with your overbroad discovery demands. More than a year ago, Southwest provided you
with the results of a preliminary search with limited terms. That search returned approximately 600,000
hits. The searches you now propose would return significantly more and necessitate a review that is overly
burdensome and not tethered to the needs of this single plaintiff case.

Indeed, it is notable that in your latest correspondence, you refuse to any custodian-based limitation on
numerous documents requests. With these requests, you seek 8 years (2012 – present) of documents and

       ABU DHABI  ATHENS  AUSTIN  BEIJING  BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG
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correspondence related to a variety of topics to or from any and all of Southwest’s “current or former
officers, employees, representatives, agents, intermediaries, successors, and other persons acting on its
behalf.” Not only are the topics and time periods facially overbroad, complying with the requests would
involve searching the records of thousands of custodians (including Southwest’s more than 60,000 current
employees). It is unfortunate that after seventeen months and what seemed like (but apparently were not)
cooperative and constructive discussions this Spring, you have chosen to reverse your own prior positions
and make demands that necessarily force motion practice.

We are also confused by your statement that Southwest indicated that it is unwilling to produce documents
regarding former employees. That is not accurate. In fact, Southwest has already produced documents
regarding former employees.1 Southwest only objects to conducting the kind of search required to comply
with your demands as drafted, as that would require searching and reviewing an untold number of records
from thousands of distant custodians who have no connection to Carter or the facts of this case. Thus, to
clarify, Southwest is willing to produce relevant and responsive documents regarding former employees.

More generally, we note that your refusal to proceed with other discovery until Southwest conducts broad
searches and produces documents on a variety of topics has complicated discovery and hampered our
negotiations. A corporate representative deposition on key topics would clarify and limit the scope of
discovery (e.g., by identifying the relevant decision makers, custodians, etc.). Because you have refused
to develop a record in this case, your proposals seek to require Southwest to search for documents and
information based on speculation rather than relevant testimony. For example, throughout your letter, you
state that all 13 custodians you identify were “applicable decision makers.” We do not know how you
reached this conclusion after we have presented evidence and made representations about the true identity
of the actual decision makers in this matter. To help advance the discovery, we reiterate our earlier
proposal that you conduct a corporate representative deposition on key topics and that the parties revisit
their discovery issues thereafter.

With these facts and background on the table, Southwest provides the following updated proposal, which
we believe is generous given the needs of this single plaintiff case.

Issue #1: Proposed Custodians

The proposed list of custodians has no connection to the facts of this case nor is it proportional to the
needs of this case. Utilizing your proposed list of custodians as broadly as you demand imposes undue
costs and burdens out of proportion to the needs of this matter. In an effort at compromise, Southwest
proposes searching the Southwest email accounts of the following employees as limited to the requests
for production indicated. Please note that Request for Production No. 2 would include all subparts.

               Mike Sims – All
               Ed Schneider – All
               Audrey Stone – All
               Charlene Carter – All

1
 Note that Southwest has produced the entire personnel files of the individuals you identified in Request for
Production 28 (Issue #17).

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                Edie Barnett – RFP 2, 15-16
                Suzanne Stephenson – RFP 2, 15-16
                Dave Kissman – RFP 2, 15-16
                Melissa Burdine – RFP 2, 15-16
                Sonya Lacore – RFP 2, 15-16
                Maureen Emlet – RFP 2, 15-16
                Meggan Jones – RFP 2, 15-16
                Denise Gutierrez – RFP 2, 15-16
                Tammy Shaffer – RFP 2, 15-16

Agreement to this list of custodians is contingent on the parties agreeing to the resolution of the other
asserted disputes.

Issue #2: Time Period

We are willing to search for and produce post-termination responsive documents. However, you have not
articulated any basis for requesting documents going back to January 2012, which precedes nearly every
relevant allegation in the Fourth Amended Complaint. You also do not tether the time period to each
particular request. We do not see a basis for reviewing 8 years of documents for all of your requests.
However, in an effort to reach a compromise, we are willing to conduct the search for documents
beginning in September 2013, the month Carter claims to have opted out of Local 556.

Issue #3: RFP 6 and RFP 7

Requests for Production 6 and 7 generally call for the production all documents concerning Southwest’s
social media policies and related discipline; and any and all communications regarding any Southwest
employee’s social media activities. You also insist on the production of nearly a decade of communication
regarding any social media issues involving thousands of flight attendants (of which there are currently
17,000) irrespective of their location, the decision makers involved in any resulting discipline, or the kind
of social media activity at issue.

As we previously stated, Carter’s requests for information regarding employee discipline must be limited
to individuals that are similarly situated. Your proposal – which includes every single flight attendant in
the country over an 8-year period irrespective of the nature of the issues involved – is not reasonable.2



2
  This issue exists in many of your proposals, including those in Issue #13. Every single flight attendant (of which
there are currently more than 12,000) employed with Southwest from 2012 to the present in any location are not
“similarly situated” for purposes of Carter’s claims and the scope of discovery. Your proposal does not have any
reasonable limitation (decision makers, issues, etc.) that would reasonably limit the scope of discovery. Thus, we
cannot agree to your proposal on this issue at this time. See generally Browning v. Southwest Airlines Co., 2019
WL 1778628, *4 (N.D. Tex. Apr. 23, 2019) (citing Moore v. Univ. Miss. Med. Ctr., 719 Fed. Appx. 381, 385 (5th
Cir. 2018) (comparators must be similarly situated, which requires plaintiff to establish “nearly identical
circumstances”)).

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As a good faith compromise, Southwest will agree to search for and produce documents: (1) concerning
social media flight attendant discipline involving Ed Schneider; and (2) concerning Step 2 reviews of
social media flight attendant discipline conducted by Mike Simms.

Southwest will also agree to run the applicable search terms for these requests on the email accounts for
Carter and Audrey Stone out of an abundance of caution and produce responsive materials if any.

Issue #4: RFP 18 and RFP 19

Request for Production 18 and Request for Production 19 generally call for the production of all
complaints concerning religious issues and requests for religious accommodation. Again, these requests
are generally irrelevant, overbroad, and unduly burdensome because they are not limited to similarly
situated individuals (regarding the decision makers or the content of the request or complaint). In fact,
you insist that every single flight attendant over an eight-year period is similarly situated for the purposes
of this request.

Southwest notes that you have repeatedly stated that it does not matter whether or not Carter requested an
accommodation. Even if that is true with respect to liability in this case, that assertion does not define the
scope of permissible and reasonable discovery. You have repeatedly refused to articulate the relevance
of the fact that Southwest may have granted or denied another employee’s accommodation request in
another location in different circumstances having nothing to do with the sorts of behavior at issue in this
case. We remain confused as to the basis for the request and your insistence on including every single
current and former flight attendant employed by the Company within it.

Absent additional clarification or authority regarding your position, Southwest stands on its initial
proposal.

Issue #5: RFP 21 and RFP 27

Request for Production 21 and Request for Production 27 generally call for documents concerning
reproductive freedom and the purported relationship between Southwest and Planned Parenthood. As we
indicated, you have not tailored these requests to the relevant decision makers. Additionally, we do not
believe these documents will be probative of any material issue in this case.

You contend that these documents are relevant because Carter believes that Southwest terminated her for
her opposition to abortion and related communications. We understand that to be Carter’s accusation.
However, the fact that Carter believes she was terminated for her abortion-related communications does
not render every communication other Southwest employees had with Planned Parenthood or regarding
reproductive freedom relevant to this case. As indicated above, despite our belief that such
communications have no relevance, Southwest has nonetheless agreed to search for such documents in
the files of the actual decision makers responsible for Carter’s discipline and termination.




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Given the above, Southwest reiterates its prior proposal on these requests.3

Issue #6: Search Terms

Southwest accepts your proposed search terms (subject to the search protocol previously outlined), except
as follows:

        RFP 2(E)-(F) – We do not agree to include “Carter” in these searches. Including such a
        common name in the searches is likely to return thousands of false hits.

        RFP 10 – Southwest has produced documents to you regarding the cabin lighting per your
        request. However, Southwest will not conduct additional searches for documents
        concerning this topic.

We understand that issues the parties did not anticipate often arise in the course of electronic discovery.
Thus, to the extent our searches return anomalous results that suggest modification of the search protocol
appropriate, we will meet and confer with you in good faith in an effort to address the issue.

Other Discovery Issues

Your letter raises new discovery issues that the parties did not discuss during the May 2020 telephone
conference. Nevertheless, we attempt to address them here.

        Overbroad, Burdensome, Relevance, and Other Objection Issues (Issues 8-10, 12)

Due to the overbroad nature of the requests (with respect to time period, custodians, and topics) as drafted,
Southwest raised various objections including overly burdensome, relevance, and others. These
objections were necessary, as your requests purported to demand that Southwest search through the
correspondence of thousands of employees over an 8-year period located throughout the country on
matters that have little or nothing to do with this case. These requests remain unchanged and thus the
objections cannot be withdrawn at this time.4

If the requests are withdrawn, amended, or the parties agree on a scope for the search and production,
these can be re-evaluated. But Southwest cannot commit that it has or will produce all the documents you




3
  We can inform you that Southwest has not donated money to Planned Parenthood during the time period at issue
(2012 – present), and that Southwest has no relationship with the entity.
4
  As we have stated for more than a year, we cannot clearly identify what documents exist (or that will be withheld)
unless and until we agree on a search that does not include tens of thousands of individuals for an 8 year period.
What Southwest does know is that the requests as drafted are overbroad, burdensome and untethered from the issues
in this case. Until the parties agree on a reasonable search and Southwest conducts an appropriate review, it cannot
rescind its objections.

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request because it cannot reasonably search for and review them. Thus, its objections must remain at this
time.5

        Privilege Log (Issue #7)

In your letter, you assert that Southwest has waived the attorney-client privilege. We are not aware of the
basis for any claimed waiver and believe the assertion to be frivolous.

To address your substantive inquiry, as we explained more than a year ago, the documents we have
withheld based on privilege are post-grievance/litigation communications involving Southwest’s inside
and outside legal team preparing to defend against Carter’s claims. At that time, we indicated that we did
not believe a formal log separately identifying each of these communications was necessary or
appropriate. However, we did acknowledge that a privilege log may be necessary as the document review
proceeds.

In summary, we acknowledge that future document searches may reveal privileged documents that do not
fall within the category above. We have indicated that we will appropriately identify such documents on
a privileged log and remain willing to do so. If you are taking the position that we must individually
identify all of Southwest’s communications with outside counsel on a privilege log, we believe that is
burdensome and an unnecessary waste of resources.

        Request for Production 5 – Union Member Status of Third Parties (Issue #15)

Request for Production 5 seeks all documents and communications regarding any individual’s agency-fee
or non-member status with Local 556. Southwest has not conducted a search for these documents because
the request is unreasonable and you have not articulated any basis for seeking all such documents. If there
are particular individuals about whom you are concerned, we can explore the relevance of these documents
vis-à-vis those individuals. However, Southwest does not believe a general search for any
communications of any sort over an 8-year period is reasonable or tethered to the legal issues in this case.

        Request for Production 10 – Cabin Lighting (Issue #16)

We have produced some information regarding cabin lighting. However, Southwest has not searched the
correspondence of every Southwest employee in the nation for documents regarding flight attendants
changing the color of the cabin lights. Such a search would be incredibly costly. Meanwhile, such
communications—unless involving an actual decision maker—have absolutely no relevance to any


5
  You also object to Southwest’s use of the phrase “subject to and without waiving objections” in its discovery
responses. As an initial matter, to the extent Southwest has not produced documents, it is not based on that portion
of its response, but rather on the unreasonable searches and review that your requests seek to compel. Additionally,
Southwest notes that Carter also responds subject to her stated objections but does so using a different formulation.
Carter often makes a litany of objections and then states that she will “otherwise provide” responsive documents.
By doing so, Carter has simply restated “subject to and without waiving” objections using a different phrase.
Regardless, except where explicitly stated, no documents have been withheld based on the phrase “subject to and
without waiving.” You may consider that phrase withdrawn anywhere asserted.

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material issue of fact. As your goal appears to be to assess Southwest’s view of the cabin lighting event
(a fact which remains irrelevant), you can easily find out by asking questions of a corporate representative.

                                                   *****

I am hopeful that the parties will be able to reach a reasonable compromise that will obviate the need for
motion practice. We look forward to exploring these issues with you in a future call.

Sincerely,


/s/ Michael A. Correll

Michael A. Correll

MAC:rs




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                                                 August 31, 2020

Michael A. Correll
Reed Smith LLP
2850 N. Harwood Street, Suite 1500
Dallas, TX 75201

Re:       Carter v. Southwest, et al.

Michael,

    I am writing to respond to your July 7, 2020 letter regarding Southwest’s discovery deficiencies, and
to discuss other remaining issues with the discovery responses. We would like to schedule a telephone
meeting next week to discuss these issues and whether Southwest agrees to the requests herein.

Issue #1 Proposed Custodians

    We will agree to Southwest using the following custodians in its search and production efforts for
RFPs 2, 4-8, 10, 15-19, 21. Except for the ACT Team, all of the listed custodians must be used for each
of these requests:

         Mike Sims
         Ed Schneider
         Audrey Stone
         Charlene Carter
         Edie Barnett
         Suzanne Stephenson
         Dave Kissman
         Melissa Burdine
         Sonya Lacore
         Maureen Emlet
         Meggan Jones
         Denise Gutierrez
         Tammy Shaffer
         ACT Team (only RFPs 2(B), 8, 18, 19, 21)




  Defending America’s working men and women against the injustices of forced unionism since 1968.



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Michael
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    We will not agree to limiting custodians any further, especially since Southwest has never
explained the costs or burdens of conducting these searches with sufficient particularity (e.g., costs,
number of documents generated by the searches for the various custodians). To the extent that the
discovery process identifies other custodians who potentially have responsive documents, we also
reserve the right under the Federal Rules to request that Southwest search and retrieve responsive
information from those sources.

   We do not see any reason for limiting RFPs 1, 3, 9, 11-14, 20, 22-28 or Interrogatories 1-6, to
any specific group of custodians.

   Also, Southwest and its custodians should produce all responsive documents wherever located.

Issue #2 Time period

    We will not agree to restrict the timeframe to March 1, 2015, through April 1, 2017. Southwest
should search and produce responsive information for the original five year timeframe provided
for in Carter’s Discovery Requests (i.e., January 2012 to Carter’s March 2017 termination).
Furthermore, Southwest has a continuing obligation to produce responsive documents after the
date of Carter’s March 2017 termination, so there is no basis for restricting Southwest’s obligations
under the federal rules with an April 1, 2017 end date, as you have proposed.

    For RFP 9, we are seeking responsive information related to Southwest flight attendants
seeking time off or a change in their schedule in order to attend the 2017 Women’s March. We do
not believe that the time parameter is critical to this request, and would ask that you produce all
responsive information.

Issue #3 RFPs 6 and 7

    We will agree to limit Southwest’s search for information responsive to RFPs 6 and 7 to the
custodians identified in Issue #1, without any further restrictions to the list of custodians or the
requests themselves. Ed Schneider consulted with Labor Relations, Human Resources, In-flight,
and Employee Relations as part of Southwest’s termination decision, and they did so in order to
maintain consistent disciplinary standards in the company’s employment decisions. The applicable
decision makers include the other custodians. Furthermore, each of the named custodians was
involved in Carter’s termination and likely has discoverable information.

    For RFPs 6 and 7 we also agree to defining similarly-situated employees as flight attendants
in the collective-bargaining unit. We do not agree with Southwest’s definition of similarly situated
employees according to communication content, or the scale of discipline. There is no basis for
those restrictions, and they limit Carter’s right to information that is discoverable under the federal
rules and directly relevant to her claims. Therefore, we cannot agree to those restrictions.

    As described above, Southwest did not provide adequate information regarding its burdens in
searching for or retrieving responsive information, and we do not see how search terms would be
relevant or beneficial for these requests.




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Issue #4 RFPs 18 and 19

    We will agree to limit Southwest’s search for responsive information to the custodians
identified in Issue #1, including the ACT Team. As with RFPs 6 and 7, Ed Schneider consulted
with Labor Relations, Human Resources, In-flight, and Employee Relations as part of Southwest’s
termination decision, and they did so in order to maintain consistent disciplinary standards in the
company’s employment decisions. The relevant decision makers include the other custodians.
Furthermore, the named custodians were involved in Carter’s termination and likely have
discoverable information. Southwest has also confirmed that the ACT Team handles complaints
regarding religious beliefs, views and practices, as well as religious accommodation requests.

    We agree to defining similarly-situated employees as flight attendants. Southwest did not
provide adequate information regarding its burdens in searching for or retrieving responsive
information, and we do not see how search terms would be relevant or beneficial for these requests.

    We will not agree to any further restrictions to the custodians or requests. Carter alleges that
one of the reasons that Southwest fired her was for her religious beliefs, views, and practices, and
its unwillingness to accommodate her beliefs. Therefore, the requests are not irrelevant. As we
have said before, under EEOC v. Abercrombie & Fitch, 575 U.S. 768 (2016), it does not matter
whether Carter specifically requested a religious accommodation. Southwest summarily fired her
without offering any religious accommodation.

Issue #5 RFPs 21 and 27

    RFPs 21 and 27 are probative of disputed issues because Carter alleges that Southwest
terminated her for her opposition to abortion, criticism of the union’s support of Planned
Parenthood, her pro-life religious beliefs, for engaging in the religious practice of sharing her
religious beliefs on abortion with the union president, and for criticizing the union’s position on
abortion and the union’s participation in the Women’s March.

    For RFP 21 we will agree to limit Southwest’s search for responsive information to the
custodians identified in Issue #1, including the ACT Team. Ed Schneider acknowledges that he
consulted with Labor Relations, Human Resources, In-flight, and Employee Relations as part of
Southwest’s termination decision, and they did so in order to maintain consistent disciplinary
standards in the company’s employment decisions. The relevant decision makers include the other
custodians. Furthermore, the named custodians were involved in Carter’s termination and likely
have discoverable information. Southwest has also confirmed that the ACT Team handles
complaints regarding religious beliefs, views and practices, as well as religious accommodation
requests.

   For RFP 27, Southwest says that it has no “material” relationship with Planned Parenthood,
and no “meaningful” documents. Please explain:

          What Southwest means when it says that it has no “meaningful” documents
          What search the company performed in reaching that determination



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   If Southwest is withholding responsive documents, or not willing to search and produce such
documents for RPF 27, then Carter will file a motion to compel.

    We will provide search terms for RFP 21 as specified below, but we do not see how they would
be beneficial for RFP 27.

Issue #6 Search Terms

    During our next meeting, we would like to discuss the details and functionalities of
Southwest’s system for performing these searches (e.g., what engine, software, etc. Southwest is
using). We assume that Southwest’s system can run Boolean searches, that none of the searches
will be case sensitive, and that the searches will exclude any extraneous commas or periods.
Regarding some of our specific search terms, whether we agree to the underscoring depends on
whether Southwest’s search will look specifically for underscores, or whether it will treat the
underscores as a space.

   A. RFP 2(A): We generally agree, but searches must include the search strings for “Carter”.
      Search strings must also include (“post!”), (“messag!”), (“messeng!”), (“internet”), and
      (“web”) back in for “Charlene” and “Carter”. Both search strings should also include
      “_dm_” and “_pm_”.
   B. RFP 2(B): We agree.
   C. RFP 2(C): Search strings must include “sign!” for “Carter”
   D. RFP 2(D): Both search strings must include “due!”, “fee!”, “agen!”, and “AFNMO”.
      “Agency fee” is too narrow because it fails to capture information describing agency fee
      objector status.
   E. RFPs 2(E)(F): Searches must include “Carter”
   F. RFP 4: Search strings must include some variation of the strings that Southwest excluded.
      We have revised those strings as follows:
      "recall!" and [("vot!") or (“sign!”) or (“remov!”) or (“petition!”) or (“organiz!”) or
      (“effort!”)] and [(“union!”) or (“board”) or (“executive board”) or (“556”) or (“TWU”) or
      (“officer!”)]

      [(“remov!”) or (“recall!”) or (“vot!”) or (“sign!”) or (“petition!”)] w/3 [(“union!”) or
      (“board”) or (“executive board”) or (“556”) or (“TWU”) or (“officer!”)]
   G. RFP 5: Search strings should include “in” w/3 “union” and “out” w/3 “union” as described
      in our first request.
   H. RFP 8: We agree to exclude (“women” and “march”). Searches must include the string
      “women or march” and (“inaugurat!” or “trump” or “Washington” or “union” or
      “January”), as originally provided for in our first list.
   I. RFP 10: We will file a motion to compel if Southwest refuses to search.
   J. RFP 21: We agree.


   We agree that Southwest must provide us with a list of anything it deems to be a failed search



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term and its respective unique document hit counts. We will not agree to any fee shifting for
reviewing hits generated by failed search terms, especially where information is reasonably
accessible, and Southwest has not demonstrated otherwise. We cannot see how reviewing 300
unique documents for responsiveness would be burdensome. However, for any instance where we
can agree that searching each unique document would be unduly burdensome, we would be
amenable to reviewing a statistically valid sample of documents to determine if the term is
returning mostly responsive or unresponsive documents. Southwest would then provide that report
along with any responsive documents. If necessary, we could make modifications to the term in
dispute and run the search again.

    Furthermore, Southwest will also perform a random statistically valid sample on the null set
of documents (i.e., those documents that were not returned as responsive by the search process) to
ensure that they are not relevant. Southwest would then provide us with that report along with any
responsive documents.

Issue # 7 Privilege Log

    Despite repeated requests, Southwest has failed to provide us with a privilege log. We believe
that Southwest has waived its privilege claims for RFPs 1-8, 10-21, 24-28, and Interrogatories 1-
6. We request that Southwest provide us with a privilege log as soon as possible setting forth all
of its privilege claims, including those for attorney-client privilege, work product privilege, and
“privacy and confidentiality.”

Issue # 8 Overbroad/Unduly Burdensome Objections

    Southwest asserts overbroad/unduly burdensome objections for every RFP and Interrogatory.
Apart from issues such as search terms, custodians, timeframe, vague and ambiguous terms, and
identifying who is similarly-situated, what specific issues form the basis for these objections?
Outside of those issues, is Southwest withholding information on the basis of those objections?

Issue # 9 Relevance Objections

    Southwest asserts relevance objections for RFPs 2-28, and Interrogatories 1-3, 5. What, if
anything, is Southwest withholding based on these objections? If Southwest is not withholding
anything based on these objections, we would ask Southwest to amend its responses and withdraw
the objections.

Issue # 10 “Subject to and without waiving objections”

    For RFPs 1-4, 8-14, 20-25, and Interrogatories 1-2, 4-5, 7, Southwest responds with a “subject
to and without waiving objections” caveat. The Federal Rules prohibit responding to a discovery
request “subject to and without waiving objections” to preserve future or unspecified objections.
Carr v. State Farm Mut. Auto. Ins. Co., 312 F.R.D. 459, 469-70 (N.D. Tex. 2015); Heller v. City
of Dallas, 303 F.R.D. 466, 487 (N.D. Tex. 2014). These responses are combined with boilerplate
objections, leaving us guessing as to the scope of information Southwest is providing. We ask that
Southwest amend these responses and clarify what it is withholding and what it is producing for



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these requests.

Issue # 11 Citing to bates-labeled documents

    Rule 34 requires Southwest to identify by bates number which specific documents produced
are responsive to each request. Rule 34(b)(2)(E)(i) requires a party to either produce documents as
they are “kept in the usual course of business,” or “organize and label them to correspond to the
categories in the request.” Fed. R. Civ. P. 34(b)(2)(E)(i). Southwest has opted for the latter
approach. Therefore, we ask that Southwest identify, by bates number, which specific documents
produced are responsive to each request.

Issue # 12 Vague and ambiguous objections

    Southwest objects to RFPs 2, 3, 6, 7, 10, 11, 15, 18, 19, 20, 26, 27, and Interrogatories 1-5, on
the grounds that the requests (or certain terms therein) are “vague” or “ambiguous.” Will
Southwest be withholding any responsive information on the basis of those objections? If not, we
ask that Southwest amend its responses and withdraw those objections. We do not see how any of
these objections are defensible, or why you cannot attribute plain meaning to the requests/terms.

Issue # 13 Similarly-situated objections

    In addition to its objections to RFPs 6, 7, 18, 19, discussed above, Southwest also raised
“similarly situated” objections to RFPs 9, 15-17, 28, and Interrogatory 3.

    For purposes of Interrogatory 3, Carter maintains that similarly-situated employees are all
Southwest flight attendants whose social media activities were reported, reviewed, or discussed in
whatever fashion. Carter also maintains that all of the flight attendants listed for RFPs 15-17, 28,
are similarly-situated. While Crystal Reven may not have been disciplined for any social media
policy violation, she is a relevant comparator as a union member and officer who was disciplined
by the company.

   For purposes of RFP 9, a similarly-situated employee is any flight attendant.

Issue #14 Including former employees

    Southwest objects to RFPs 2, 3, 6, 7, 10, 18, 19, 26, and 27, for seeking information regarding
current and former Southwest employees. For which of these requests (if any) is Southwest
withholding responsive information on the basis of these objections?

    Will reaching agreement regarding search terms, custodians, and similarly-situated employees
resolve those objections for RFPs 6-7, 18-19?

   To the extent Southwest maintains that producing responsive information for current and
former flight attendants is unduly burdensome, please explain what that burden is.




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Issue #15 RFP 5 and seeking information related to employees’ union membership status
from Southwest, not the union:

    For RFP 5, Southwest objects that Carter should seek documents related to employees’ union
membership status from the union, not Southwest. However, we are seeking Southwest’s
communications about membership status. For this request we are seeking information in
Southwest’s sole possession, custody, and control. Is Southwest withholding responsive
information on the basis of this objection?

Issue #16 RFP 10 and seeking information related to employees turning the cabin lights pink

   For RFP 10, Southwest’s July 7, 2020 Discovery Letter states that the company “refuses to
conduct any searches for documents concerning employees turning cabin lights pink.” Which of
Southwest’s objections forms the basis for your refusal? We will file a motion to compel
production if Southwest refuses to produce responsive information.

Issue #17 Southwest has not responded to our questions regarding RFP 28

    Southwest indicated that it will be producing documents in response to this request, but it
suggested that it will not be producing the employees’ entire personnel files. We asked Southwest
to explain what it is producing and what it is not producing, but Southwest has never responded.
Please provide Southwest’s response.

                                                ***

    We would like to schedule a meeting for next week to discuss these issues and your responses
by telephone. Please respond and let me know when you will be available so that we can determine
whether we will be able to resolve these issues.

                                                                   Sincerely,


                                                                   /s/ Matthew B. Gilliam
                                                                   Matthew B. Gilliam




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July 7, 2020



By Electronic Mail

Matthew B. Gilliam
National Right to Work Legal Defense
Foundation, Inc.
8001 Braddock Road, Ste. 600
Springfield, VA 22160

        RE: Carter v. Southwest et al.

Matt:

I am writing to follow up regarding our conversation last month concerning Ms. Carter’s deficiency
contentions. While Southwest does not concede any defect in its prior responses, it is willing to
compromise on a number of points to achieve an efficient resolution of this dispute without the need for
costly motion practice. To that end, Southwest agrees to take the following steps to resolve Ms. Carter’s
deficiency contentions:

Issue #1: Proposed Custodians

Southwest continues to believe that the proposed list of custodians is overbroad and imposes undue costs
and burdens out of proportion to the needs of this matter. In an effort at compromise, Southwest
proposes searching the Southwest email accounts of the following employees as limited to the requests
for production indicated. Please note that Request for Production No. 2 would include all subparts.

                 Mike Sims – All
                 Ed Schneider – All
                 Audrey Stone – All
                 Charlene Carter – All

                 Edie Barnett – RFP 2
                 Suzanne Stephenson – RFP 2
                 Dave Kissman – RFP 2
                 Melissa Burdine – RFP 2
                 Sonya Lacore – RFP 2
                 Maureen Emlet – RFP 2
                 Meggan Jones – RFP 2
                 Denise Gutierrez – RFP 2
                 Tammy Shaffer – RFP 2
       ABU DHABI  ATHENS  AUSTIN  BEIJING  BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG
    HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI  MUNICH  NEW YORK  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON
           RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE  TYSONS  WASHINGTON, D.C.  WILMINGTON

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Agreement to this list of custodians is contingent on the parties agreeing to the resolution of the other
asserted disputes.

Issue #2: Time Period

Southwest will agree to search for documents during a broadened time period of March 1, 2015 through
April 1, 2017.

Issue #3: RFP 6 and RFP 7

Request for Production 6 and Request for Production 7 generally call for the production all Southwest
documents concerning Southwest’s social media policy and related discipline. These requests are
overbroad and unduly burdensome because they are not limited to similarly situated individuals with
respect to the applicable decision makers, communication content, or scale of discipline. Accordingly,
Southwest will agree to search for and produce documents: (1) concerning social media flight attendant
discipline involving Ed Schneider; and (2) concerning Step 2 reviews of social media flight attendant
discipline conducted by Mike Simms where a termination was reversed or reduced to an outcome more
favorable than a last chance letter.

Southwest will also agree to run the applicable search terms for these requests on the email accounts for
Carter and Audrey Stone out of an abundance of caution and produce responsive materials if any.

Issue #4: RFP 18 and RFP 19

Request for Production 18 and Request for Production 19 generally call for the production of all
complaints concerning religious issues and requests for religious accommodation. Again, these requests
are generally irrelevant, overbroad, and unduly burdensome because they are not limited to similarly
situated individuals as to either the decision makers or similar content, and because it is undisputed that
Carter never sought a religious accommodation. Southwest will agree to conduct a search for any
documents concerning a complaint by a flight attendant regarding religious issues involving Ed Schneider
or Mike Simms. Southwest represents that, more broadly, it does not have any documents concerning any
complaints of religious issues or requests for religious accommodation concerning social media.

Southwest will also run the applicable search terms for these requests on the custodian files for Carter and
Audrey Stone out of an abundance of caution and produce responsive materials if any.

Issue #5: RFP 21 and RFP 27

Request for Production 21 and Request for Production 27 generally call for documents concerning
reproductive freedom and the purported relationship between Southwest and Planned Parenthood. None
of the documents sought in either request for production is probative of any disputed issue in this case.
Further, the request is not properly tailored to the only individuals whose opinions on these topics could
conceivably matter—the responsible decision makers. With respect to Request for Production 21,
Southwest will agree to search for responsive documents in the custodian files of Ed Schneider and Mike




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Simms. Southwest will also run the applicable search terms for these requests on the custodian files for
Carter and Audrey Stone out of an abundance of caution and produce responsive materials if any.

With respect to Request for Production 27, Southwest represents that it has no material relationship with
Planned Parenthood and a search has revealed no meaningful documents. Further, Southwest has no
formal or informal relationship with Planned Parenthood. Accordingly, any additional effort to search for
documents responsive to Request for Production 27 would be useless and a waste of resources.

ISSUE #6: Search Terms

Southwest will agree to apply the following search terms to the listed custodians as defined in Issue #1.
As a condition of resolution, the parties agree that any search term that returns more than 300 unique hits
shall be deemed a “failed search term.” Southwest shall not review unique hits generated by “failed search
terms” unless Carter agrees to fee shifting to cover the costs of assessing responsiveness. Southwest will
provide you with a list of the failed search terms and their respective unique hit counts.

Southwest proposes the following search terms based on modification of your prior proposal. Southwest
states that all of the following searches would inappropriate and unduly burdensome if not limited as
described above by custodian.

       RFP 2(A)

       "Charlene" and: [("facebook"), ("_fb_"), ("tweet!"), ("twitter"), ("instagram"), ("snapchat"),
       ("_im_"), ("social media")]

       RFP 2(B)

       "Charlene" and: [("women's march"), ("womens march"), ("womens' march"), ("relig!"),
       ("christian!"), ("evangel!"), ("gospel"), ("ideolog!"), ("church"), ("bibl!"), ("god"), ("jesus"),
       ("abort!"), ("pro-abortion"), ("pro abortion"), ("fetus"), ("pro life"), ("pro-life"), ("pro choice"),
       ("pro-choice"), or ("planned parenthood")]

       "Carter" and: [("women's march"), ("womens march"), ("womens' march"), ("relig!"),
       ("christian!"), ("evangel!"), ("gospel"), ("ideolog!"), ("church"), ("bibl!"), ("god"), ("jesus"),
       ("abort!"), ("pro-abortion"), ("pro abortion"), ("fetus"), ("pro life"), ("pro-life"), ("pro choice"),
       ("pro-choice"), or ("planned parenthood")]

       RFP 2(C)

       "Charlene" and: ("recall!"); ("sign!"); ("petit!"); ("elect!"); (“campaign!”); ("jeanna" or "jackson");
       ("board" or "executive board"); “remov!” w/3 [(“union!”) or (“board”) or (“executive board”) or
       (“officer!”)]

       "Carter" and: ("recall!"); ("petit!"); ("elect!"); (“campaign!”); ("jeanna" or "jackson"); ("board" or
       "executive board"); “remov!” w/3 [(“union!”) or (“board”) or (“executive board”) or (“officer!”)]



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      RFP 2(D)

      "Charlene" and: [("objector"), ("nonmember!"), ("non-member!"), ("scab!"), ("union!"), ("Local
      556"), ("_556_"), ("TWU"), ("AFL-CIO"), ("union member!"), ("agency fee"), ("member!"),
      ("Right-to-Work"), ("Right to Work"), ("NRTW"), ("opt out"), ("opt-out")]

      "Carter" and: ["objector," "nonmember!," "non-member!," "scab!", "union!" "union member!",
      "agency fee”, "Right-to-Work", "Right to Work," "NRTW," "opt out," "opt-out"]


      RFP 2(E)

      “Charlene”


      RFP 2(F)

      “Charlene”

      RFP 4

      ("jeanna" or "jackson") and [(“remov!”) or (“recall!”) or (“vot!”) or (“sign!”) or (“elect!”) or
      (“petition!”) or (“effort!”)] and ("board" or "executive board" or "union" or "556" or "TWU")]

      ("jeanna" or "jackson") and [(“remov!”) or (“recall!”) or (“vot!”) or (“sign!”) or (“elect!”) or
      (“petition!”)] and lawsuit)

      ("jeanna" or "jackson") and [("petition!") or ("vot!") or (“elect!”) or (“remov!”) or (“organiz!”) or
      (“collect!”)]

       ("jeanna" or "jackson") and ("sign!") and ("recall!" or “remov!” or “vot!” or “elect!” or
      “petition!”)

      RFP 5

      "objector!"
      "nonmember!"
      "non-member!"
      "scab!"
      "member!"
      "dues"
      "agency fee!"
      "union fee!"
      "Right-to-Work"



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      "Right to Work"
      "NRTW"
      “opts out”
      "opt out"
      "opt-out”
      “opt-outers”
      "fee payer!"
      "ellis"
      "hudson"
      "resign!"
      "free rider!"
      "Janus"
      “Abood”
      [("opt!" or "resign!" or "member!" or "fee!" or "dues" or "pay!" or “object!”) and ("union!" or
      "_556_" or "TWU" or "AFL-CIO")]

      RFP 8

      [(women w/2 march) and ("inaugurat!" or “trump” or “Washington” or “union” or “January”)]

      RFP 10

      Southwest refuses to conduct any searches for documents concerning employees turning cabin
      lights pink.

      RFP 21

      "abort!"
      “pro-abortion”
      “fetus”
      “pro life”
      “pro-life”
      “pro choice”
      “pro-choice”
      “planned parenthood”
      "reproductive freedom"
      "reproductive rights"
      [("women" or "woman") and ("choice" or "choos!" or "body" or "right!" or "free!")]"
      "right to choose"
      "anti-choice"
      "anti choice"


                                              *****




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Nothing in this letter is intended to assert or suggest that responsive documents exist. Except where noted,
Southwest does not know whether responsive documents will be found. Southwest will conduct a search
in good faith, but it anticipates that many, if not most, of these requests will not yield any responsive
documents.

I am hopeful that this compromise will obviate the need for motion practice. If you agree to foregoing,
please let me know and we will begin the process of reviewing and producing documents per the terms
set forth herein.



Sincerely,


/s/ Michael A. Correll

Michael A. Correll

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RFP 2(A)
"Charlene" and: [("facebook"), ("fb"), ("post!"), ("messag!"), ("messeng!"), ("online"), ("tweet!"),
("twitter"), ("instagram"), ("snapchat"), ("im"), ("social media"), ("internet"), or ("web")]
"Carter" and: [("facebook"), ("fb"), ("post!"), ("messag!"), ("messeng!"), ("online"), ("tweet!"),
("twitter"), ("instagram"), ("snapchat"), ("im"), ("social media"), ("internet"), or ("web")]
RFP 2(B)
"Charlene" and: [("women's march"), ("womens march"), ("womens' march"), ("relig!"),
("christian!"), ("evangel!"), ("gospel"), ("ideolog!"), ("church"), ("bibl!"), ("god"), ("jesus"),
("abort!"), ("pro-abortion"), ("pro abortion"), ("fetus"), ("pro life"), ("pro-life"), ("pro choice"),
("pro-choice"), (“belie!”), or ("planned parenthood")]
"Carter" and: [("women's march"), ("womens march"), ("womens' march"), ("relig!"),
("christian!"), ("evangel!"), ("gospel"), ("ideolog!"), ("church"), ("bibl!"), ("god"), ("jesus"),
("abort!"), ("pro-abortion"), ("pro abortion"), ("fetus"), ("pro life"), ("pro-life"), ("pro choice"),
("pro-choice"), (“belie!”), or ("planned parenthood")]
RFP 2(C)
"Charlene" and: ("recall!"); ("sign!"); ("petit!"); ("elect!"); (“campaign!”); ("jeanna" or "jackson");
("board" or "executive board"); “remov!” w/3 [(“union!”) or (“board”) or (“executive board”) or
(“officer!”)]
"Carter" and: ("recall!"); ("sign!"); ("petit!"); ("elect!"); (“campaign!”); ("jeanna" or "jackson");
("board" or "executive board"); “remov!” w/3 [(“union!”) or (“board”) or (“executive board”) or
(“officer!”)]
RFP 2(D)
"Charlene" and: [("objector"), ("nonmember!"), ("non-member!"), ("scab!"), ("union!"), ("Local
556"), ("556"), ("TWU"), ("AFL-CIO"), ("union member!"), ("due!"), ("fee!"), ("agency"),
("member!"), ("Right-to-Work"), ("Right to Work"), ("NRTW"), ("opt out"), ("opt-out")]
"Carter" and: ["objector," "nonmember!," "non-member!," "scab!", "union!" "Local 556," "556,"
"TWU," "AFL-CIO," "union member!", "dues," "fee," "agency fee," "member!" "Right-to-Work",
"Right to Work," "NRTW," "opt out," "opt-out"]
RFP 2(E)
“Charlene” or “Carter”
RFP 2(F)
“Charlene” or “Carter”




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RFP 4
"recall!" and [("vot!") or (“sign!”) or (“elect!”) or (“remov!”) or (“petition!”) or (“organiz!”) or
(“effort!”)] and [(“union!”) or (“board”) or (“executive board”) or (“556”) or (“TWU”) or
(“officer!”)]
[(“remov!”) or (“recall!”) or (“vot!”) or (“sign!”) or (“elect!”) or (“petition!”)] w/3 [(“union!”) or
(“board”) or (“executive board”) or (“556”) or (“TWU”) or (“officer!”)]
("jeanna" or "jackson") and [(“remov!”) or (“recall!”) or (“vot!”) or (“sign!”) or (“elect!”) or
(“petition!”) or (“effort!”)] and ("board" or "executive board" or "union" or "556" or "TWU")]
("jeanna" or "jackson") and [(“remov!”) or (“recall!”) or (“vot!”) or (“sign!”) or (“elect!”) or
(“petition!”)] and ("su!" or lawsuit")
("jeanna" or "jackson") and [("petition!") or ("vot!") or (“elect!”) or (“remov!”) or (“organiz!”) or
(“collect!”) or (“gather!”)]
 ("jeanna" or "jackson") and ("sign!") and ("recall!" or “remov!” or “vot!” or “elect!” or
“petition!”)
RFP 5
"objector!"
"nonmember!"
"non-member!"
"scab!"
"member!"
"dues"
"agency fee!"
"union fee!"
"Right-to-Work"
"Right to Work"
"NRTW"
“opts out”
"opt out"
"opt-out”
“opt-outers”
"fee payer!"




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"ellis"
"hudson"
"resign!"
"free rider!"
"Janus"
“Abood”
[("opt!" or "resign!" or "member!" or "fee!" or "dues" or "pay!" or “object!”) and ("union!" or
"556" or "TWU" or "AFL-CIO")]
("in" w/3 "union")
("out" w/3 "union")
RFP 8
"women" and "march"
[(women or march) and ("inaugurat!" or “trump” or “Washington” or “union” or “January”)]
RFP 10
“pink” and ("inaugurat!" or trump or Washington or march)]
"pink" w/2 "hat!"
"pink" and "light!"
"pink" and "cabin"
RFP 21
"abort!"
“pro-abortion”
“fetus”
“pro life”
“pro-life”
“pro choice”
“pro-choice”
“planned parenthood”
"reproductive freedom"
"reproductive rights"




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[("women" or "woman") and ("choice" or "choos!" or "body" or "right!" or "free!")]"
"right to choose"
"anti-choice"
"anti choice"




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Matthew B. Gilliam

From:                             Matthew B. Gilliam
Sent:                             Monday, October 21, 2019 10:03 AM
To:                               Morris, Brian K.
Cc:                               Gehrke, Michele Haydel; Jeff D. Jennings
Subject:                          RE: Discovery Issues and Deadlines


Hi Brian,

Thanks for your email. I haven’t checked with Jeff regarding his schedule, but I think I can make any day or time this
week work. Would tomorrow afternoon work? I can also contact Adam and Ed if you haven’t already.

Regarding custodians and search terms, I thought you were first going to look at including more custodians from our
proposed list and determine who you would include, and that we would also look at the search term hits for those
custodians. From there, I was going to work on tightened search terms for that broader list of custodians and forward
that list to you. I vaguely remember Michele saying something along the lines of it would be better for me to do that
once I have more custodian and search term information from you.

As for SWA’s position on responding to RFPs Requests 5-7, 9, 15-19, 21, 26-29, and Interrogatory 3 if we can agree on
custodians and search terms, did you send the right attachment? I looked through those emails but didn’t see where you
responded.

Thanks,
Matt

__________________
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From: Morris, Brian K.
Sent: Monday, October 21, 2019 6:21 AM
To: Matthew B. Gilliam
Cc: Gehrke, Michele Haydel ; Jeff D. Jennings
Subject: RE: Discovery Issues and Deadlines

Hi Matthew. We are good with the 21 day extension. During our prior call, we identified several custodians (Audrey
Stone, Charlene Carter, Ed Schneider, Mikes Simms, Denise Gutierrez, Maureen Emlet, Meggan Jones) and you provided
an alternative list. Based on our discussion, I understood that you were providing a narrower list of custodians for an
initial search, and we would indicate our position on producing documents identified in response to the RFPs you
identified in the attached email (5-7, 9, 15-19, 21, 26-29), which I have done in the attached.

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Michele was out at deposition the end of last week so it was not a good time for a call. What days work well for you this
week? Thank you.


Brian K. Morris
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BMorris@reedsmith.com

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Dallas, TX 75201
+1 469 480 4200
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From: Matthew B. Gilliam <mbg@nrtw.org>
Sent: Thursday, October 17, 2019 12:54 PM
To: Gehrke, Michele Haydel <MGehrke@reedsmith.com>; Morris, Brian K. <BMorris@reedsmith.com>
Cc: Jeff D. Jennings <jdj@nrtw.org>
Subject: Discovery Issues and Deadlines

EXTERNAL E-MAIL

Hi Michele and Brian,

I wanted to check in regarding discovery and our various deadlines. First, we had talked about possibly scheduling a call
this week to discuss extending the parties’ current deadline to complete all discovery and how that would impact the
rest of our schedule, including the trial date. Do you all have time tomorrow or the beginning of next week for a call? I’m
also available today.

Second, as to our continuing discussions regarding search terms and custodians, my recollection was that you all were
going to provide us with a list of custodians you were willing to agree to, and that we could continue our discussions
from there. Do you all have any updates on that front?

Finally, we continue to work on responses to your discovery requests, and as I suspected during our last conversation,
we will need more time to prepare responses, organize document production, and prepare our privilege log. While we
might be able to serve discovery sooner, we would like to request an extension of 21 days, to avoid having to come back
and ask for more time. Would that be agreeable?

Thanks,
Matt




External Signed


__________________
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Matthew B. Gilliam

From:                              Matthew B. Gilliam
Sent:                              Monday, September 30, 2019 3:56 PM
To:                                Morris, Brian K.; Gehrke, Michele Haydel
Cc:                                Jeff D. Jennings; Jason Winford
Subject:                           RE: Custodians and Search Terms


Hi Brian and Michele,

We have identified a group of custodians as a starting place for searching. We still encounter the same issues we
discussed before with not having sufficient information about potential custodians. To that end, we would like more
information to help us have a better understanding about how personnel within HR, LR, In-Flight, and the ACT Team
(managers, supervisors, and their staff) are involved in matters raised with the discovery requests. We need to have that
understanding before we can fully determine custodians. You indicated that Southwest does not have any organizational
charts. Can you provide us with any other information (e.g., graphs, charts, lists) breaking down how the HR, LR, In-
Flight, and ACT Team departments are structured, a description of the issues/areas they manage within those
departments, and the managers, supervisors, and other personnel that work in the departments? It might also be
helpful for us to see a list of who received a litigation hold order. Ultimately, we’re just looking for information to help us
understand who would/would not have responsive information.

Also, could we schedule a call in the next few days to discuss how HR, LR, In-Flight, and ACT Team personnel are involved
in the matters raised by the discovery requests? During the call I think we should be prepared to review the requests
and discuss whether/how the departments mentioned above are involved in those matters. One idea is that we might
be able to narrow custodians and search terms by request. In the meantime, I am providing a list of custodians that we
think should be included in the searches.
     1) Edie Barnett
     2) Suzanne Stephenson
     3) Dave Kissman
     4) Melissa Burdine
     5) Mike Sims
     6) Sonya Lacore
     7) Maureen Emlet
     8) Meggan Jones
     9) Ed Schneider
     10) Denise Gutierrez
     11) Tammy Shaffer
     12) Audrey Stone
     13) Charlene Carter

Finally, if we agree to search terms and custodians would SWA produce documents responsive to Requests 5-7, 9, 15-19,
21, 26-29, and Interrogatory 3? Previously you had indicated that you would not produce documents responsive to
those requests even with a PO, and one of your objections involved whether employees encompassed by some requests
were similarly-situated. If we agree to search terms and custodians for these requests, would SWA be willing to produce
documents for those responses?

Thanks,
Matt

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Matthew B. Gilliam

From:                            Matthew B. Gilliam
Sent:                            Tuesday, August 27, 2019 3:44 PM
To:                              Morris, Brian K.; Gehrke, Michele Haydel
Cc:                              Jeff D. Jennings
Subject:                         Search terms


Hi Brian and Michele,

Given the narrowing of custodians I didn’t know if search terms would be still be helpful, but we added some search
terms to the list you had provided us. Let me know if you want to discuss.
     Objector
     Nonmember
     Non-member
     Nonmembership
     Non-membership
     Scabs
     Union
     Unions
     Union fees
     Local 556
     556
     TWU
     AFL-CIO
     Political
     Nevarez
     Parrott
     Jessica Parker
     Parker
     Union member
     Dues
     Agency Fee
     Membership
     Women’s March
     Womens March
     Womens’ March
     Religious
     Religion
     Christian
     Christianity
     Evangelical
     Evangelist
     Gospel
     Ideology
     Church
     Bible
     God
     Jesus
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   Abortion
   Aborted
   Pro-abortion
   Abortions
   Abort
   Aborting
   Fetus
   Pro life
   Pro-life
   Pro choice
   Pro-choice
   Murder
   Recall
   Election
   Jeanna
   Jackson
   Right-to-work
   Right to work
   NRTW
   Planned Parenthood
   Trump
   Inauguration
   Opt out
   Opt-out
   Recall
   Pink hats
   Facebook
   FB
   Posts
   Messaged
   Messenger
   Posted
   Online
   Tweet
   Tweeted
   Twitter
   Instagram
   Snapchat
   Instant Message
   Social media
   Content
   Carter
   Charlene
   Audrey
   Stone
   Board
   Bully
   Bullied
   Bullying
   Haze
                                          2



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       Hazed
       Hazing
       Obscene
       Offensive
       Harassment
       Harass
       Harassed
       Harassing
       Threat
       Threatened
       Threatening
       Lewd
       Intimidate
       Intimidation
       Intimidated
       Intimidating
       Discriminate
       Discrimination
       Discriminated
       Discriminating
       Discriminatory
       Retaliate
       Retaliation
       Retaliated
       Retaliating
       Retaliatory
       Pink lights
       Cabin lights
       Brian Talburt
       Ricky Spand
       Josh Rosenberg
       Greg Hofer
       Casey Rittner
       Chris Click
       OneLuv
       Core Team
       Kent Hand

__________________
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